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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                              CRIMINAL NO. 11-cr-20129

 vs.                                                  Hon. ROBERT H. CLELAND

 D-15 RAYMOND CHARLES MELIOLI,

              Defendant.
                                           /

                   PRELIMINARY ORDER OF FORFEITURE

       Pursuant to 21 U.S.C. § 853 and Fed.R.Crim.P. 32.2, and based upon

 Defendant Raymond Charles Melioli’s guilty plea to Count One of the Tenth

 Superseding Information, the contents of Defendant’s Rule 11 Plea Agreement, the

 Government’s Application for Entry of Preliminary Order of Forfeiture, and other

 information in the record, IT IS HEREBY ORDERED, ADJUDGED AND

 DECREED THAT:

       1.     Defendant shall forfeit to the United States any property constituting,

 or derived from, any proceeds obtained, directly or indirectly, as a result of his

 violations of 21 U.S.C. §§ 846, 841(a)(1), and any property used, or intended to be
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 used, in any manner or part, to commit or to facilitate the commission of such

 violations.

       2.      Defendant shall not contest, or assist anyone else in contesting, the

 forfeiture of all of the firearms, silencers and ammunition, U.S. Currency,

 motorcycles, slot machines, tools, computers, thumb drives, laptops, cameras,

 monitors, electronic equipment, “Colors” including but not limited to center wheel,

 vests, pins and patches, clothing, merchandise, jewelry, paraphernalia, and other

 personal property bearing any Devil’s Diciples’ labeling, markings, logos or

 symbols, that were seized in connection with the investigation of this case, as well

 as those seized in connection with the investigation and prosecution of United

 States v. Jeff Garvin Smith, et. al., Case No. 11-20066, United States District

 Court, Eastern District of Michigan, in any forfeiture action or proceeding.

       3.      Defendant shall not contest, or assist anyone else in contesting, the

 forfeiture of the real properties that are the subject of the following civil

 actions: United States v. One Parcel of Real Property Known as 43653 Gratiot,

 Clinton Township, Michigan, Case No. 09-cv-11208 and United States v. One

 Parcel of Real Property Known as 2424 Little Street, Port Huron, Michigan, Case

 No. 09-cv-11212, United States District Court, Eastern District of Michigan.




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       4.     Defendant shall not contest, or assist anyone else in contesting, the

 forfeiture of all Devil’s Diciples’ websites, markings, service marks, trademarks,

 names and “Colors,” in any forfeiture action or proceeding.

       5.     Defendant shall not contest the forfeiture of, or file a petition or claim

 in connection with, any property that the government seeks to forfeit from any

 other defendant in this case, and from any defendant in United States v. Jeff Garvin

 Smith, et. al., Case No. 11-20066, United States District Court, Eastern District of

 Michigan.

       6.     This Order shall become final as to Defendant at the time it is entered.

       7.     The Court retains jurisdiction to enforce this Order, and to amend it as

 necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

       IT IS SO ORDERED.



                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE

 Dated: May 31, 2016

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, May 31, 2016, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522



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